8 F.3d 816
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Darrell A. BOWMAN, Plaintiff-Appellant,v.Sandra TAYLOR, Defendant-Appellee.
    No. 93-6875.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  September 27, 1993.Decided:  October 29, 1993.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.
      Darrell A. Bowman, Appellant Pro Se.
      D.Md.
      AFFIRMED
      Before RUSSELL and MURNAGHAN, Circuit Judges, CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Bowman v. Taylor, No. CA-93-2078-S (D. Md. July 26, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    